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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            Chief Judge Philip A. Brimmer

Criminal Case No. 14-cr-00396-PAB
Civil Case No. 19-cv-01976-PAB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

DELANO MARCO MEDINA,

     Defendant.
_____________________________________________________________________

                                ORDER
_____________________________________________________________________

       This matter is before the Court on Mr. Medina’s “Motion to Alter or Amend

Judgement pursuant to 59(e)” [Docket No. 298]. Mr. Medina requests that the court

amend its February 11, 2022 order to find that Mr. Medina was prejudiced by his

counsel at trial and that his speedy trial rights were violated. Docket No. 298 at 3; see

Docekt No. 296.

I. PROCEDURAL HISTORY

       The procedural history of Mr. Medina’s case is set forth in detail in the Court’s

order on Mr. Medina’s § 2255 motion, Docket No. 283, and will only be repeated here to

the extent it is necessary to resolve the motion. On November 29, 2021, Mr. Medina

filed a motion for relief from judgment in his habeas proceeding. Docket No. 289.

Although Mr. Medina styled his motion as a motion pursuant to Fed. R. Civ. P. 60(b),

the Court ruled that Mr. Medina’s motion was actually a second or successive habeas

petition and denied it for a lack of jurisdiction. Docket No. 296 at 5. Final judgment was
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entered in Mr. Medina’s case on February 14, 2022. Docket No. 297. Mr. Medina

mailed the present motion on February 17, 2022, and it was docketed on February 22,

2022. Docket No. 298 at 4.

II. LEGAL STANDARD

       Motions for reconsideration of a final judgment that are filed within 28 days of the

entry of judgment are properly considered under Fed. R. Civ. P. 59(e). See Kirby v.

Resmae Mortg. Corp., 626 F. App’x 746, 748 (10th Cir. 2015) (unpublished). Here, Mr.

Medina filed the present motion within 28 days of the docketing of the final judgment.

       Under Rule 59(e), appropriate grounds to grant a motion to reconsider include

“(1) an intervening change in the controlling law, (2) new evidence previously

unavailable, and (3) the need to correct clear error or prevent manifest injustice.”

Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000). Motions to

reconsider are generally an inappropriate vehicle to advance “new arguments, or

supporting facts which were available at the time of the original motion,” id., but

dismissal of a case based on a lack of jurisdiction is an appropriate subject of a Rule

59(e) motion. See Devon Energy Prod’n Co., L.P. v. Mosaic Potash Carlsbad Inc., 693

F.3d 1195, 1198 (10th Cir. 2012).

III. ANALYSIS

       Mr. Medina requests that the Court amend its February 11, 2022 order

dismissing his Rule 60(b) petition to find that he “was prejudice[d] by counsel’s failure to

interview and call as witnesses Lucinda Valdez and Eleazar Medina”. Docket No. 298

at 3. The Court, however, dismissed Mr. Medina’s motion on jurisdictional grounds and

not on the merits. See id. at 1-3. The Court will therefore analyze Mr. Medina’s motion

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as challenging the Court’s ruling that it did not have jurisdiction to consider his motion.

Mr. Medina argues that when the Court incorrectly stated that he obtained affidavits

later than his April 7, 2017 hearing and when the Court left “unanswered and

unresolved” whether he provided evidence that the location data he could not retriev e

was not available from other sources it caused “clear error” and “manifest injustice” Id.

at 1-2. Mr. Medina misapprehends the nature of the Court’s order. The Court ruled

that it did not have jurisdiction to rule on Mr. Medina’s November 29, 2021 motion

because it was “an attack on the Court’s finding that he has not demonstrated that the

evidence on his phone is unavailable through other sources.” Docket No. 296 at 5.

The Court did not rule on the unavailability of Mr. Medina’s location data or the merits of

his Rule 60(b) motion. Id.

       Neither of the errors that Mr. Medina alleges in his present motion relate to the

Court’s ruling that a determination had already been made on Mr. Medina’s claim about

unavailable evidence. Mr. Medina’s first assertion, that the Court incorrectly listed the

date he obtained affidavits, Docket No. 298 at 1, has no bearing on the Court’s

jurisdiction. Mr. Medina’s second argument, that the Court overlooked two affidavits,

those of Lucinda Valdez and Eleazer Medina, id. at 2, ignores the fact that the Court

previously ruled that those exhibits would not be included in the record of his habeas

claim. See Docket No. 283 at 16-17, 23.

       Mr. Medina’s motion is an attempt to relitigate the Court’s ruling that the issue of

Mr. Medina’s location data has already been decided. It is therefore not properly raised

in a Rule 59(e) motion. See Devon Energy, 693 F.3d at 1212. Rule 59(e) motions




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using “supporting facts which were available at the time of the original motion” are

“inappropriate vehicles” to reargue an issue. Servants of Paraclete, 204 F.3d at 1012.

It is therefore

       ORDERED that Mr. Medina’s Motion to Alter or Amend Judgement pursuant to

59(e) [Docket No. 298] is DENIED.



       DATED March 1, 2022.


                                         BY THE COURT:



                                         PHILIP A. BRIMMER
                                         Chief United States District Judge




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